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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:09CR48
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
ISIDRO DUARTE-ANDRADE,                            )
ROY LENOS-PAZ,                                    )
ROBERTO CAMACHO-GUTIERREZ and                     )
LUIS NANDI-CIPRIANO,                              )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion for an extension of time by defendant
Luis Nandi-Cipriano (Nandi-Cipriano) (Filing No. 69). Nandi-Cipriano seeks additional time
in which to file pretrial motions in accordance with the progression order. Nandi-Cipriano
has filed an affidavit wherein he consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing
No. 70). Upon consideration, the motion will be granted and the pretrial motion deadline
will be extended as to all defendants.
       IT IS ORDERED:
       Defendant Nandi-Cipriano's motion for an extension of time (Filing No. 69) is
granted. All defendants are given until on or before May 15, 2009, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between May 1, 2009 and May 15, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendants' counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 1st day of May, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
